 Case 6:19-cv-00872-GAP-GJK Document 1 Filed 05/08/19 Page 1 of 8 PageID 1



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

Cheryl Stuehler and                               X
Gonzalo Cevallos                                  X
Plaintiffs,                                       X
                                                  X
v.                                                X
                                                  X
Kevin McAleenan, Acting Secretary,                X         Case No.
Department of Homeland Security;                  X
L. Francis Cissna, Director, U.S. Citizenship and X
Immigration Services; Michael Borgen,             X
District Director, Citizenship and                X
Immigration Services, Orlando, Florida;           X
Kimberly Dean, Orlando Field Office Director,     X
U.S. Citizenship and Immigration Services,        X
Defendants.                                       X
___________________________________________/

               COMPLAINT FOR ISSUANCE OF WRIT OF MANDAMUS

To the Honorable Judge of Said Court:


                                     I. INTRODUCTION

       This action is brought by Plaintiffs to request that this Court compel Defendants to

adjudicate a Form I-130, Petition for Alien Relative (“Form I-130”), and a Form I-485, Application

to Register Permanent Residence or Adjust Status (“Form I-485”), filed by Plaintiffs with

Defendants. These applications were received by United States Citizenship and Immigration

Services (“USCIS”) on or about February 23, 2015. Both applications remain pending before

USCIS.
Case 6:19-cv-00872-GAP-GJK Document 1 Filed 05/08/19 Page 2 of 8 PageID 2



                                      II. PARTIES

    1. That the Plaintiff, Cheryl Stuehler (“Cheryl”), is a citizen of the United States. Cheryl

       is married to Plaintiff Gonzalo Cevallos.

    2. That the Plaintiff, Gonzalo Cevallos (A 089-991-175) (“Gonzalo”), is a native and

       citizen of Ecuador.

    3. That the Defendant, Kevin McAleenan, is the Acting Secretary of the Department of

       Homeland Security. He is responsible for the administration and enforcement of the

       Immigration and Nationality Act in accordance with 8 U.S.C. §1101 et seq. Defendant

       McAleenan is being sued in his official capacity.

    4. That the Defendant, L. Francis Cissna, is the Director of USCIS, an agency of the

       United States government involved in the acts challenged in this action. Defendant

       Cissna is being sued in his official capacity.

    5. That the Defendant, Michael Borgen, is the District Director for District 10 of USCIS.

       Defendant Borgen is being sued in his official capacity.

    6. That the Defendant, Kimberly Dean, is the Director of the USCIS Field Office in

       Orlando, Florida (“Orlando Field Office”). Defendant Dean is being sued in her official

       capacity.

                                  III. JURISDICTION

    7. That this is a civil action brought pursuant to 28 U.S.C. §§ 1331 and 1361 to redress

       the deprivation of rights, privileges and immunities secured to Plaintiffs, by which

       jurisdiction is conferred, to compel Defendants to perform duties owed to Plaintiffs.




                                             2
Case 6:19-cv-00872-GAP-GJK Document 1 Filed 05/08/19 Page 3 of 8 PageID 3



    8. That jurisdiction is also conferred by 5 U.S.C. § 704. Plaintiffs are aggrieved by the

       agency’s decision to withhold action in this case, as the Administrative Procedure Act

       requires in order to confer jurisdiction on the District Courts, 5 U.S.C. §§702 et seq.

    9. That the aid of the Court is invoked under 28 U.S.C. §§ 2201 and 2202, authorizing a

       declaratory judgment.

    10. That costs and attorney’s fees will be sought pursuant to the Equal Access to Justice

       Act. 5 U.S.C. § 504 and 28 U.S.C. § 2412(d), et seq.

                                       IV. VENUE

    11. That venue is proper in Orlando, Florida, and the Orlando Division of the Middle

       District of Florida pursuant to 28 U.S.C § 1391(e) because Plaintiffs reside in Osceola

       County, Florida, within the territorial limits of the Orlando Division.

                                V. REMEDY SOUGHT

    12. That Plaintiffs ask this Court to compel Defendants to adjudicate their Form I-130 and

       Form I-485 received by Defendants on or about February 23, 2015.

                               VI. CAUSE OF ACTION

    13. That Cheryl Stuehler is a natural born citizen of United States (“USC”). Cheryl is

       married to Gonzalo Cevallos.

    14. That Cheryl filed a Form I-130 on behalf of Gonzalo seeking to accord him an

       immigrant visa as the spouse of a USC. This petition sought Gonzalo’s classification

       as an “immediate relative” as set forth at 8 U.S.C. § 1151(b)(2)(A)(i). This petition

       was received by Defendants on or about February 23, 2015 and assigned receipt

       number MSC 15-906-97575.




                                             3
Case 6:19-cv-00872-GAP-GJK Document 1 Filed 05/08/19 Page 4 of 8 PageID 4



    15. That Gonzalo filed a Form I-485 concomitantly with Cheryl’s Form I-130. The Form

       I-485 sought Gonzalo’s “adjustment of status” to that of an alien “lawfully admitted

       for permanent residence.” This Form I-485 was assigned receipt number MSC 15-906-

       97574.

    16. That Plaintiffs were scheduled for an interview at the local USCIS Field Office in

       Orlando, Florida on September 8, 2015.

    17. That Plaintiffs appeared for the aforementioned interview as required.

    18. That for reasons discussed infra, Cheryl walked out of the couple’s September 8, 2015

       interview.

    19. That the agency did not deny Cheryl’s Form I-130 or Gonzalo’s Form I-485 when

       Cheryl left the September 8, 2015 interview.

    20. That following Cheryl’s departure from the September 8, 2015 interview, Gonzalo

       submitted a Form I-360, Petition for Amerasian, Widow(er), or Special Immigrant,

       seeking classification as an “abused spouse” as described at 8 U.S.C.

       §1154(a)(1)(A)(iii).

    21. That Gonzalo’s Form I-360 was received by USCIS on December 24, 2015 and issued

       receipt number EAC 16-058-50023.

    22. That all Form I-360’s seeking the classification described at 8 U.S.C.

       §1154(a)(1)(A)(iii) are adjudicated by the Vermont Service Center.

    23. That based on knowledge and belief, the undersigned submits that Gonzalo’s Form

       I-485 was forwarded to the Vermont Service Center upon its receipt of the

       aforementioned Form I-360.

    24. That Gonzalo’s Form I-360 IS NOT the subject of this complaint.



                                            4
Case 6:19-cv-00872-GAP-GJK Document 1 Filed 05/08/19 Page 5 of 8 PageID 5



    25. That Gonzalo’s Form I-360 was denied via a written decision dated September 26,

       2016.

    26. That when the Vermont Service Center denied Gonzalo’s Form I-360, Cheryl’s Form

       I-130 and Gonzalo’s Form I-485 remained pending adjudication. Accordingly, USCIS

       scheduled the couple for a new interview at the Orlando Field Office on November 29,

       2017.

    27. That Cheryl and Gonzalo sent an email to the Orlando Field Office informing it that

       they were requesting certain accommodations for Cheryl and that they could not attend

       the November 29, 2017 interview without such accommodations.

    28. That the Orlando Field Office thereafter directed Cheryl and Gonzalo to send

       documentation in support of the requested accommodations to a designated

       Supervisory Immigration Services Officer (“SISO”).

    29. That on June 22, 2018, July 30, 2018 and on November 1, 2018, counsel for Cheryl

       and Gonzalo sent correspondence to the agency asking that it schedule an interview on

       the pending applications and provide the accommodations discussed below. These

       letters included background information on Cheryl’s diagnoses of varied mental health

       conditions. Each of these letters was sent to the SISO designated by USCIS to receive

       said correspondence.

    30. That no response has been received to the correspondence discussed in the paragraph

       above.




                                           5
    Case 6:19-cv-00872-GAP-GJK Document 1 Filed 05/08/19 Page 6 of 8 PageID 6



        31. That the Form I-130 and Form I-485 remain pending adjudication with Defendants

           without explanation as to the delay and without any information as to when a decision

           will be made1.

        32. That USCIS is currently reporting on its website (www.uscis.gov) that it is adjudicating

           “family-based” Forms I-485 at its Orlando Field Office in 11 months to 18.5 months.

           According to the agency’s explanation, this means that it can adjudicate 50% of cases

           like Gonzalo’s Form I-485 within 11 months of receipt and 93% of such cases in 18.5

           months. USCIS will accept an inquiry only if it relates to a Form I-485 filed on or

           before November 12, 2017.

        33. That the delay associated with Plaintiffs’ Form I-130 and Form I-485 has become

           “unreasonable.”

        34. That Plaintiffs seek the aid of this Court in ordering Defendants to adjudicate the

           pending Form I-130 and Form I-4852. To determine otherwise prevents qualified

           individuals from obtaining a determination on the merits of applications for

           immigration benefits as a result of those delays attributable to Defendants.

        35. That mandamus is appropriate because there is no other remedy at law. Through the

           instant action, Plaintiffs seek to compel the government to make proper decisions made

           in accordance with applicable law. Plaintiffs’ causes of action arise from the delayed




1
  Plaintiffs recognize that portions of the adjudication delays are a result of their own actions.
Cheryl’s departure from the September 8, 2015 interview and Gonzalo’s submission of a Form
I-360 account for at least one full year of this delay. With that said, USCIS denied Gonzalo’s
Form I-360 on September 26, 2016, more than 31 months ago. Even new applications received
by USCIS on September 26, 2016 would be considered far “past due” based on the agency’s
current processing report.
2
  Plaintiffs submit that the accommodations requested for Cheryl can be addressed with the
agency in conjunction with scheduling an interview on the pending applications.
                                                 6
 Case 6:19-cv-00872-GAP-GJK Document 1 Filed 05/08/19 Page 7 of 8 PageID 7



          administrative action required to provide this Court with jurisdiction pursuant to the

          Mandamus Act and the Administrative Procedure Act.

                                 VII. PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that this Court:

       1. Accept jurisdiction and maintain continuing jurisdiction of this action;

       2. Conduct such hearings and examinations of Plaintiffs as necessary to determine that

          the relief requested by Plaintiffs is warranted as a matter of law;

       3. Declare Defendants’ action unreasonably delayed pursuant to 5 U.S.C. § 706(1);

       4. Issue a preliminary and permanent injunction pursuant to 28 U.S.C. § 1361 and

          5 U.S.C. § 706(1) compelling Defendants to make proper determinations on Plaintiffs’

          Form I-130 and Form I-485;

       5. Issue a writ in the nature of mandamus, pursuant to 28 U.S.C. § 1361 and 5 U.S.C.

          § 706(1), compelling Defendants to make proper determinations on Plaintiffs’ Form

          I-130 and Form I-485;

       6. Grant attorneys’ fees and costs of this suit under the Equal Access to Justice Act,

          28 U.S.C. § 2412;

       7. Grant such other relief as this Court may deem just and proper.

                                                                           Respectfully submitted,

                                                                           /s/ David Stoller /s/
                                                                            David Stoller, Esquire
                                                                            Attorney for Plaintiffs
                                                                              4445 S. Conway Rd.
                                                                          Orlando, Florida 32812
                                                                           Phone: (407) 999-0088
                                                                              Fax: (407) 382-9916
                                                               Email: david@davidstollerlaw.com
                                                                            Florida Bar No. 92797



                                                7
    Case 6:19-cv-00872-GAP-GJK Document 1 Filed 05/08/19 Page 8 of 8 PageID 8




                           Table of Contents
                   Documents in Support of Complaint
Cheryl Stuehler and Gonzalo Cevallos v. Kevin McAleenan, Secretary, et al.

   Exhibit 1:   Form I-797C, Notice of Action, Form I-130 filing receipt;

   Exhibit 2:   Form I-797C, Notice of Action, Form I-485 filing receipt;

   Exhibit 3:   Denial of Form I-360 (September 26, 2016);

   Exhibit 4:   Reschedule Request and Request for Accommodation;

   Exhibit 5:   USCIS Web Portal information relating to Form I-130 (MSC1491060230);

   Exhibit 6:   USCIS Web Portal information relating to Form I-485 (MSC1491060229);

   Exhibit 7:   March 2018 announcement from U.S. Citizenship and Immigration Services
                implementing its new system of reporting processing times;

   Exhibit 8:   Current Published Processing Report relating to USCIS Orlando Field Office.




                                                8
